             Case 2:12-cv-02634-JWL Document 99-1 Filed 11/15/13 Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS

EQUAL EMPLOYMENT OPPORTUNITY                          )
COMMISSION,                                           )
                                                      )
          Plaintiff,                                  )
                                                      )
KENT DUTY,                                            ) Civil Action No. 12-CV-2634 JWL/KGG
                                                      )
          Plaintiff-Intervenor,                       )
                                                      )
v.                                                    )
                                                      )
BNSF RAILWAY COMPANY,                                 )
                                                      )
          Defendant.                                  )

                                           EXHIBIT LIST

Exhibit                  Description

A                 Excerpts of Dr. Jarrard’s Deposition

B                 Scott Woods’ Report dated December 5, 2008 (pending motion for leave to file
                  under seal)

C                 Photographs of Kent Duty’s arm and hand

D                 Plaintiff and Plaintiff-Intervenor’s Joint Request for Inspection of Premises

E                 Defendant’s Objections and Response to Plaintiff and Plaintiff- Intervenor’s Joint
                  Request for Inspection of Premises

F                 Excerpts of Beau Price’s Deposition

G                 Declaration of John Reppond

H                 Letter from EEOC Investigator dated March 2, 2011

I                 Excerpts of Steve Kluge’s Deposition




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